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OAO 245B      (Rev. 12/03) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                       EASTERN                                    District of                                ARKANSAS
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              V.
                 DANIEL RAY NEAL
                                                                          Case Number:                      4:05CR00040-09 GH
                                                                          USM Number:                       23605-009

                                                                          ALVIN SCHAY
                                                                          Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)         1s

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended               Count
21 U.S.C. 843(a)(6)                Possession of Chemicals and Equipment to be used to                          10/03                    1s
                                   Manufacture Methamphetamine, a Class C Felony




       The defendant is sentenced as provided in pages 2 through                6        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
X Count(s)      1                                        X is     G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                        August 11, 2005
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge




                                                                          GEORGE HOWARD JR, U. S. DISTRICT JUDGE
                                                                          Name and Title of Judge

                                                                           August 22, 2006
                                                                           Date signed
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AO 245B       (Rev. 12/03) Judgment in Criminal Case
              Sheet 2 — Imprisonment

                                                                                                          Judgment — Page   2       of   6
DEFENDANT:                       DANIEL RAY NEAL
CASE NUMBER:                     4:05CR00040-09 GH


                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:     14 months




    X The court makes the following recommendations to the Bureau of Prisons:
          The court recommends that the defendant be afforded nonresidential substance abuse treatment, educational and vocational
          training programs during incarceration.



    X The defendant is remanded to the custody of the United States Marshal.

    G The defendant shall surrender to the United States Marshal for this district:
          G     at                                     G a.m.      G p.m.        on                                             .

          G     as notified by the United States Marshal.

    G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G     before 2 p.m. on                                             .

          G     as notified by the United States Marshal.

          G     as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                             to

a                                                       , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                              By
                                                                                                    DEPUTY UNITED STATES MARSHAL
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             Sheet 3 — Supervised Release
                                                                                                     Judgment—Page     3     of        6
DEFENDANT:                 DANIEL RAY NEAL
CASE NUMBER:               4:05CR00040-09 GH
                                                    SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :      3 years


     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides,
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
    The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                    STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
          five days of each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
          any controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
          defendant’s criminal record or personal history or characteristics and shall permit the probation officer to make such
          notifications and to confirm the defendant’s compliance with such notification requirement.
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AO 245B   (Rev. 12/03) Judgment in a Criminal Case
          Sheet 3C — Supervised Release
                                                                                           Judgment—Page    4    of       6
DEFENDANT:                DANIEL RAY NEAL
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                                        SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall participate, under the guidance and supervision of the probation office, in a substance abuse treatment
program which may include testing, outpatient counseling and/or residential treatment and shall abstain from the use of
alcohol throughout the course of any treatment.
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AO 245B   (Rev. 12/03) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page     5      of        6
DEFENDANT:                        DANIEL RAY NEAL
CASE NUMBER:                      4:05CR00040-09 GH
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                       Fine                              Restitution
TOTALS            $ 100.00                                           $ 0                               $ 2304.64


G The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                 Total Loss*                      Restitution Ordered                   Priority or Percentage
Drug Enforcement Admin.                                  2304.64                              2304.64
 (DEA)




TOTALS                              $                     2304.64          $                   2304.64


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G the interest requirement is waived for the             G fine   G restitution.
     G the interest requirement for the              G fine    G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B    (Rev. 12/03) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                          Judgment — Page     6     of          6
DEFENDANT:                   DANIEL RAY NEAL
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                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X Lump sum payment of $               0                 due immediately, balance due

          G      not later than                                   , or
          X      in accordance           G C,         G D,   G      E, or     X F below; or
B    G Payment to begin immediately (may be combined with                   G C,      G D, or     G F below); or
C    G Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X Special instructions regarding the payment of criminal monetary penalties:
          Payments will be 50 percent of the monthly available funds during incarceration. During supervised release and community
          confinement, payments will be 10 percent of the defendant’s gross monthly income.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



X    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.
     Restitution will be joint and several with co-defendants but as of this date, co-defendants have not been sentenced.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
